Case 1:25-cv-00039-JJM-PAS   Document 68-109   Filed 02/07/25   Page 1 of 5 PageID
                                   #: 5545




                   Thomas-Jensen
                    Affirmation
                     (redacted)


                     Exhibit # 109
Case 1:25-cv-00039-JJM-PAS   Document 68-109   Filed 02/07/25   Page 2 of 5 PageID
                                   #: 5546
Case 1:25-cv-00039-JJM-PAS   Document 68-109   Filed 02/07/25   Page 3 of 5 PageID
                                   #: 5547
Case 1:25-cv-00039-JJM-PAS   Document 68-109   Filed 02/07/25   Page 4 of 5 PageID
                                   #: 5548
Case 1:25-cv-00039-JJM-PAS   Document 68-109   Filed 02/07/25   Page 5 of 5 PageID
                                   #: 5549
